    Case 22-05006         Doc 18       Filed 05/13/22          Entered 05/13/22 16:25:13               Page 1 of 5




                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

                                                                       )
     WILLIAM SHERLACH & ROBERT PARKER,                                 )
                                                                       )    Adv. Pro. No. 22-05006 (JAM)
     Plaintiffs,                                                       )
                                                                       )
     v.                                                                )
                                                                       )
     ALEX EMRIC JONES; INFOWARS, LLC; FREE                             )
     SPEECH SYSTEMS, LLC; INFOWARS HEALTH,                             )
     LLC; PRISON PLANET TV, LLC; WOLFGANG                              )
     HALBIG; CORY T. SKLANKA; GENESIS                                  )
     COMMUNICATIONS NETWORK, INC.; and                                 )
     MIDAS RESOURCES, INC.,                                            )
                                                                       )
     Defendants.                                                       )
     __________________________________________                        )


 NOTICE OF DISMISSAL WITH PREJUDICE OF CLAIMS AGAINST REMOVING
DEFENDANTS INFOWARS LLC (aka INFOW, LLC), INFOWARS HEALTH, LLC (aka
              IWHealth, LLC) AND PRISON PLANET TV, LLC 1

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and Fed. R. Bankr. P. 7041, all of the plaintiffs

    in these three removed actions hereby voluntarily dismiss their claims against Infowars, LLC

    (aka InfoW, LLC); Infowars Health, LLC (aka IWHealth, LLC); and Prison Planet TV, LLC. 2


1
  There are three consolidated cases in the Connecticut Superior Court: Lafferty v. Jones (UWY- CV18-6046436-S),
Sherlach v. Jones (UWY-CV18-6046437-S), and Sherlach v. Jones (UWY- CV18-6046438-S). These cases were
abusively removed to this Court under names and docket numbers Lafferty v. Jones (22-05004), Sherlach v. Jones (22-
05005), and Sherlach v. Jones (22-05006). This identical Notice of Dismissal is being filed in all three bankruptcy
cases: 22-05004, 22-05005, and 22-05006.
2
  See Williams v. MESA Underwriters Specialty Ins. Co., 538 F. Supp. 3d 234, 236 n.2 (D. Conn. 2021) (Dooley, J.)
(appropriate to use Rule 41 to dismiss all claims against a particular defendant); LeFevre v. Fishers Island Ferry Dist.,
2018 WL 3025039, at *3 (D. Conn. June 18, 2018) (Bolden, J.) (same); Juliano v. Grand Hyatt New York, Inc., 2018
WL 1069578, at *2-3 (D. Conn. Feb. 27, 2018) (Bolden, J.) (same); Morron v. City of Middletown, 2006 WL 1455607,
at *1 (D. Conn. May 23, 2006) (Hall, J.) (same); Alston v. Pafumi, 2011 WL 1885676, at *1 (D. Conn. May 18, 2011)
(Haight, J.) (same); Grace v. Plank, 2007 WL 4224221, at *5 (D. Conn. Nov. 27, 2007) (Underhill, J.) (same);
Guigliano v. Danbury Hosp., 396 F. Supp. 2d 220, 224-25 (D. Conn. 2005) (Chatigny, J.) (same).
                                                           1
    Case 22-05006          Doc 18        Filed 05/13/22           Entered 05/13/22 16:25:13                Page 2 of 5




             Stated with more specificity, David Wheeler, Francine Wheeler, Jacqueline Barden,

    Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi,

    Carlos M. Soto, Jillian Soto, William Aldenberg, William Sherlach, Robert Parker, Erica L.

    Garbatini f/k/a Erica Lafferty, and Richard M. Coan as Chapter 7 Trustee of the bankruptcy

    estate of Erica L. Garbatini 3 (hereafter “the plaintiffs”) voluntarily dismiss their claims against

    Infowars, LLC (aka InfoW, LLC); Infowars Health, LLC (aka IWHealth, LLC); and Prison

    Planet TV, LLC in these three removed cases (Connecticut Superior Court title and docket

    numbers Lafferty v. Jones (UWY- CV18-6046436-S), Sherlach v. Jones (UWY-CV18-

    6046437-S), and Sherlach v. Jones (UWY- CV18-6046438-S), now docketed in this Court as

    Lafferty v. Jones (22-05004), Sherlach v. Jones (22-05005), and Sherlach v. Jones (22-05006)).

             This dismissal is as to the plaintiffs’ claims against Infowars, LLC (aka InfoW, LLC);

    Infowars Health, LLC (aka IWHealth, LLC); and Prison Planet TV, LLC only. The plaintiffs

    maintain each and all of their claims against the other defendants in these actions: Alex Emric

    Jones; Free Speech Systems, LLC; and Genesis Communications Network, Inc.

             This dismissal is made unilaterally by the plaintiffs, is not the result of any agreement

    between the plaintiffs and the defendants in these actions, and is made without consideration of

    any kind from the defendants in these actions. This dismissal is with prejudice and without

    costs.




3
 Ms. Lafferty-Garbatini was at one time a party plaintiff to the consolidated actions, and Mr. Coan was then substituted
for her as party plaintiff. The removing defendants incorrectly named Ms. Lafferty (and not Mr. Coan) as a plaintiff
in the notice of removal, and Ms. Lafferty’s inclusion on this dismissal is unnecessary and superfluous. Nonetheless,
to ensure that it is crystal clear that this dismissal is fully effective as to the Lafferty claims, this dismissal is made on
behalf of both Ms. Lafferty-Garbatini and Mr. Coan.
                                                              2
    Case 22-05006       Doc 18      Filed 05/13/22         Entered 05/13/22 16:25:13            Page 3 of 5




    Dated: Bridgeport, Connecticut                    By: /s/ Alinor C. Sterling
           May 13, 2022                                  Alinor C. Sterling (Fed. Bar No. ct17207)
                                                         Christopher M. Mattei (Fed. Bar No. ct27500)
                                                         Koskoff, Koskoff & Bieder P.C.
                                                         350 Fairfield Ave.
                                                         Bridgeport, CT 06604
                                                         Telephone: (203) 336-4421
                                                         Facsimile: (203) 368-3244
                                                         Email: asterling@koskoff.com
                                                                 cmattei@koskoff.com
                                                         Counsel for the Plaintiffs 4

                                                      By: /s/ Eric Goldstein
                                                         Eric Goldstein (Fed. Bar No. ct27195)
                                                         Jessica M. Signor (Fed. Bar No. ct30066)
                                                         Shipman & Goodwin LLP
                                                         One Constitution Plaza
                                                         Hartford, CT 06013
                                                         Telephone: (860) 251-5000
                                                         Facsimile: (860) 251-5218
                                                         Email: egoldstein@goodwin.com
                                                                  jsignor@goodwin.com
                                                         Counsel for the Individual Plaintiffs 5




Koskoff, Koskoff & Bieder represents all of the plaintiffs, including Richard M. Coan solely in his capacity as
4

Chapter 7 Trustee of the bankruptcy estate of Erica L. Garbatini.
5
 In connection with this proceeding, Shipman & Goodwin LLP represents Erica L. Garbatini f/k/a Erica Lafferty,
David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel,
Donna Soto, Carlee Soto-Parisi, Carlos Mathew Soto, Jillian Soto, William Aldenberg, William Sherlach, and Robert
Parker (collectively, the “Individual Plaintiffs”).

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 Case 22-05006        Doc 18     Filed 05/13/22       Entered 05/13/22 16:25:13        Page 4 of 5




                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2022, a copy of the foregoing Notice of Dismissal with

Prejudice of Claims Against Removing Defendants InfoWars LLC (aka InfoW, LLC), InfoWars

Health, LLC (IWHealth, LLC) and Prison Planet TV, LLC was filed electronically and served by

mail on anyone unable to accept electronic filing. Notice of this filing will be sent by e-mail to all

parties by operation of the Court's electronic filing system or by First Class mail to anyone unable

to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this

filing through the Court’s CM/ECF System.

       I further certify that on May 13, 2022, a copy of the foregoing Notice of Dismissal with

Prejudice of Claims Against Removing Defendants InfoWars LLC (aka InfoW, LLC), InfoWars

Health, LLC (IWHealth, LLC) and Prison Planet TV, LLC was also served via U.S. First Class

prepaid postage on the following parties listed below:

 Wolfgang Halbig                                      Cory T. Sklanka
 25526 Hawks Run Lane                                 515 Gracey Avenue
 Sorrento, FL 32776                                   Meriden, CT 06451

 Genesis Communications Network, Inc.                 Midas Resources, Inc.
 Attn. Officer, Managing Agent or Agent for           Attn. Officer, Managing Agent or Agent for
 Service                                              Service
 190 Cobblestone Lane                                 190 Cobblestone Lane
 Burnsville, MN 55337                                 Burnsville, MN 55337

 Norman A. Pattis                                     James H. Fetzer, PH.D.
 Pattis & Smith, LLC                                  800 Violet Lane
 383 Orange Street                                    Oregon, WI 53575
 1st Floor
 New Haven, CT 06511




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Case 22-05006   Doc 18   Filed 05/13/22       Entered 05/13/22 16:25:13    Page 5 of 5




                                                      /s/ Alinor C. Sterling
                                                      ALINOR C. STERLING
                                                      CHRISTOPHER M. MATTEI

                                                      /s/ Eric Goldstein
                                                      ERIC GOLDSTEIN
                                                      JESSICA M. SIGNOR




                                          5
